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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                       CASE: 1:11-cv-23260-PAS



  JAN BENSON SEGAL,

            Plaintiff,

  vs.

  SKYLAKE 1380 LTD, d/b/a
  SKYLAKE PROFESSIONAL PLAZA,

        Defendant.
  _____________________________________/


                              NOTICE OF VOLUNTARY DISMISSAL

            Pursuant to Rule 41(a)(2), Plaintiff hereby gives notice that he is dismissing the action

  against Defendant, SKYLAKE 1380 LTD, d/b/a SKYLAKE PROFESSIONAL PLAZA, and

  states:

            1) Plaintiff commenced the Title III Americans with Disabilities Act lawsuit on

                September 9, 2011.

            2) Defendant’s first recognized appearance through counsel was by means of a Motion

                to Dismiss filed October 26, 2011 [DE 11], which was subsequently denied by the

                Court [DE 17].

            3) On April 10, 2012, counsel for Defendant filed their initial Motion to Withdraw as

                counsel [DE 29] prior to supplying any discovery responses in the instant matter.

            4) Counsel for Defendant filed a Renewed Motion to Withdraw [DE 33] on May 7,

                2012, which was granted by the Court.
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         5) Pursuant to Order of this Court, Plaintiff thereafter filed his Motion for Entry of

             Clerk’s Default [DE 35].

         6) The Order Denying Motion for Default Final Judgment [DE 41], required that the

             Plaintiff either (a) file an Amended Complaint to comply with specificity

             requirements addressed in [DE 41], or (b) take a voluntary dismissal without

             prejudice.

         7) Plaintiff subsequently learned that the property at issue was sold in a foreclosure

             action on February 21, 2012, with the Clerk of Court for the Eleventh Judicial Circuit

             in and for Miami-Dade, Florida issuing a Certificate of Title to the new owner as of

             March 8, 2012. See Exhibit 1.

         8) As Defendant no longer has custody or control of the subject premises, it would not

             be able to undertake any remedial measures to bring the property into compliance

             with the ADA Guidelines, rendering any such injunctive relief moot.



         WHEREFORE, the Plaintiff, JAN BENSON SEGAL, seeks a voluntary dismissal of the

         action as against the Defendant, SKYLAKE 1380 LTD pursuant to Rule 41(a)(2), Federal

         Rules of Civil Procedure.

         Dated: October 30, 2012.

                 By:      /s/ William Glenn Dill
                          WILLIAM GLENN DILL, ESQ.

                                  CERTIFICATE OF SERVICE

         WE HEREBY CERTIFY that the foregoing was electronically filed with the Clerk of the

  Court via CM/ECF on this 30th day of October, 2012. We further certify that the foregoing was

  served on all counsel or parties of record on the attached Service List either via transmission of
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  Notices of Electronic Filing generated by CM/ECF or in some other authorized manner for those

  counsel or parties who are not authorized to receive electronic Notices of Filing.

  Respectfully submitted,                           Respectfully submitted,


  By:    /s/ W. Glenn Dill                          By:     /s/ Daniel B. Reinfeld
         WILLIAM GLENN DILL, ESQ.                           DANIEL B. REINFELD, ESQ.
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                         JAN BENSON SEGAL v. SKYLAKE 1380 LTD.
                                Case No.: 1:11-cv-23260-PAS
                                        Service List



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